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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                 SPARTANBURG DIVISION


JANE DOE,
                                                               CASE NO.: 7:21-cv-03193-DCC
                        Plaintiff,

vs.                                                          CONSENT MOTION IN SUPPORT
                                                             OF PRO HAC VICE ADMISSION
LIMESTONE UNIVERSITY F/K/A
LIMESTONE COLLEGE, COLLINS MURPHY,
MG FREESITES, LTD., D/B/A
PORNHUB.COM, and HAMMY MEDIA LTD.
d/b/a XHAMSTER.COM,

                        Defendants.


        The undersigned local counsel hereby moves, together with the Application and Affidavit

attached as Exhibit A, that Sean Taheri of the law firm Quinn Emanuel Urquhart & Knupp, LLP

be admitted pro hac vice in the above-captioned case as associate counsel. As local counsel, I

understand that:

        1.      I will personally sign and include my District of South Carolina federal bar attorney

identification number on each pleading, motion, discovery procedure, or other document that I

serve or file in this court; and

        2.      All pleadings and other documents that I file in this case will contain my name,

firm name, address, and phone number and those of my associate counsel admitted pro hac vice;

and

        3.      Service of all pleadings and notices as required shall be sufficient if served upon

me, and it is my responsibility to serve my associate counsel admitted pro hac vice; and




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       4.     Unless excused by the court, I will be present at all pretrial conferences, hearings,

and trials and may attend discovery proceedings. I will be prepared to actively participate if

necessary.

       5.     Certification of Consultation (Local Civil Rule 7.02).

                      Prior to filing this Motion, I conferred with opposing counsel who has
              indicated the following position as to this Motion: will likely oppose; does
              not intend to oppose

                    Prior to filing this Motion, I attempted to confer with opposing counsel but
              was unable to do so for the following reason(s):

                        No duty of consultation is required because the opposing party is proceeding
              pro se.

                                      Respectfully submitted,

 DATED May 22, 2024                          TURNER, PADGET, GRAHAM AND LANEY,
                                             P.A.
 Columbia, South Carolina

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